          Case 2:17-cr-00128-RMP           ECF No. 270       filed 12/06/17       PageID.735 Page 1 of 1
✎ PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                              FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON

                                                           for
                                                                                               Dec 06, 2017
                                           Eastern District of Washington
                                                                                                   SEAN F. MCAVOY, CLERK




U.S.A. vs.                      Earle, Brock E.                        Docket No.         0980 2:17CR00128-RMP-5

                                Petition for Action on Conditions of Pretrial Release

       COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Brock E Earle, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers, sitting in the Court at Spokane, Washington, on the 1st day of August 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: The defendant tested positive for the presence of marijuana on October 18, 2017.

Violation #2: The defendant tested positive for the presence of marijuana on November 17, 2017.

     PRAYING THAT THE COURT WILL MODIFY CONDITIONS OF PRETRIAL RELEASE SUPERVISION
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       December 6, 2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  Modify conditions of pretrial release.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[X ] Other Modify conditions of post-plea release



                                                                           Signature of Judicial Officer

                                                                                12/6/2017
                                                                           Date
